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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

  REWARDS NETWORK
  ESTABLISHMENT SERVICES INC., a
  Delaware Corporation,

                         Plaintiff,

                          v.                        Case No. 1:16-cv-09952

  LA BOUCHERIE, INC., a New York
  Corporation; and PHILIP LAJAUNIE, an
  individual.

                         Defendants.

                                      ORDER OF JUDGMENT

      THIS CAUSE coming before the Court on Rewards Network Establishment Services Inc.’s

(“Plaintiff”) Motion for Entry of Judgment and to Dismiss Fraud Claim, due notice having been

given and the Court having jurisdiction of the parties and subject matter and being fully advised

in the premises,

THE COURT FINDS:

       1.       It has jurisdiction of the subject matter of the Amended Verified Complaint (the

“Complaint”).

       2.       On December 1, 2016, La Boucherie, Inc. (“La Boucherie”) Philip Lajaunie

(“Lajaunie” and with La Boucherie, the “Defendants”) acknowledged that the Summons and initial

complaint have been served upon them, and on November 16, 2017, Defendants were served with

the Amended Verified Complaint. On January 19, 2018, default was entered against La Boucherie.

       3.       On January 11, 2018, a pro se appearance was filed by Philip Lajaunie, and on

September 25, 2018, an attorney appearance was filed for La Boucherie and Philip Lajaunie. See

Docket Nos. 25 & 83.
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       4.     On November 15, 2018, La Boucherie’s motion to vacate the default previously

entered against it was denied. See Docket No. 94.

       5.     On February 13, 2019, a partial judgment was entered against La Boucherie in the

amount of $628,305.49, as well as $23,396.48 for attorneys’ fees, and the Court reserved its

decision regarding Plaintiff’s request for recovery of $27,303.34 that Plaintiff alleges that it

expended during the 15 John Corp. bankruptcy (the “Bankruptcy Fees”). See Docket No. 112.

       6.     On September 12, 2019, the Court denied Plaintiff’s request for recovery of the

Bankruptcy Fees, and confirmed its prior partial default judgment against La Boucherie. See

Docket No. 113.

       7.     On September 12, 2019, this Court ruled on Plaintiff’s Motion for Summary

Judgment, which was granted in part and denied in part. See Docket No. 113. This Court granted

Plaintiff’s Motion for Summary Judgment against Philip Lajaunie on Count II of the Complaint,

finding that the judgment entered in this case as to La Boucherie’s indebtedness under the

Receivables Purchase Agreement will be entered jointly and severally as to Lajaunie. See Docket

No. 113. However, the Court denied Plaintiff’s motion for summary judgment against Lajaunie

on Count III of the Complaint (the “Fraud Claim”). See id.

       8.     On November 18, 2019, the Fraud Claim was dismissed without prejudice. See

Docket No. 121.
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IT IS HEREBY ORDERED:

        1.      That a Final Judgment is entered in favor of Plaintiff Rewards Network

Establishment Services Inc., against La Boucherie, Inc and Philip Lajaunie, jointly and severally,

in the amount of $628,305.49, plus attorneys’ fees and costs in the amount of $23,396.48, plus

interest thereafter at the statutory rate.

Dated: 12/11/19


IT IS HEREBY ORDERED:
                                             JOHN Z. LEE
                                             United States District Judge
